441 F.2d 490
    George Douglas LAFOON, Petitioner-Appellant,v.UNITED STATES BOARD OF PAROLE, Respondent-Appellee.No. 71-1033 Summary Calendar.**Rule 18, 5 Cir.; see Isbell Enterprises, Incv.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    May 4, 1971.
    
      George Douglas Lafoon, pro se.
      Roby Hadden, U.S. Atty., Dale Long, Asst. U.S. Atty., Tyler, Tex., for respondent-appellee.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      Lafoon appeals from the District Court's denial, without an evidentiary hearing, of his Section 2255 motion.  We affirm.
    
    
      2
      Appellant is presently serving a Texas State sentence and the United States Board of Parole has lodged a detainer against him as the result of violation of parole on a federal sentence of twenty years originally imposed in 1955.  Appellant contends that the federal conviction, based on his plea of guilty, should be set aside on the ground that he did not intelligently and understandingly waive his right to counsel.  The record, which includes the arraignment and sentencing proceedings of which appellant complains, affirmatively contradicts this allegation.  The District Court, therefore, correctly denied the relief sought.  Obviously no evidentiary hearing was required.  See Gill v. United States, 5 Cir., 1970, 421 F.2d 1353, 1355; Hunter v. United States, 5 Cir., 1969, 409 F.2d 1203, 1204; Holland v. United States, 5 Cir., 1969, 406 F.2d 213, 216; Streator v. United States, 5 Cir., 1968, 395 F.2d 661, 662.  Moreover since the contention raised on this appeal has previously been determined adversely to appellant after an evidentiary hearing on a similar Section 2255 motion, the District Court properly denied the motion.  Bell v. United States, 5 Cir., 1970, 419 F.2d 1312, 1313.  Affirmed.
    
    